Case 8:10-cv-00300-DOC-MLG Document 205 Filed 12/04/12 Page 1 of 1 Page ID #:6366

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 10-00300-DOC (MLGx)                                        Date    December 4, 2012
 Title             ETAGZ, INC., v. QUIKSILVER, INC.




 Present: The Honorable             Marc L. Goldman, Magistrate Judge
                        Ivette Gomez                                                 n/a
                        Deputy Clerk                                     Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                             None                                                   None
 Proceedings:            In Chambers: Order Dismissing Motion for Contempt, filed November 6, 2012
                         (Dkt. 164)

       The parties have informed the court that they have reached a settlement in this action and are
preparing appropriate documents for dismissal of the case. The above entitled motion is DISMISSED
without prejudice. The hearing on the motion set for this date is taken off calendar.




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                                                               Initials of Clerk      ig




CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
